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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

Intersections, Inc., et al.
Plaintiffs,
v. Case No. l:09cv597 (LMB/TCB)
Joseph C. Loomis, et al.,

Defendants.

 

 

DEFENDANT’S MOTION FOR RECONSIDERATION OF
ORDER DISQUALIFYING EMIL W. HERICH AND KEATS,
McFARLAND & WILSON, LLP AS COUNSEL OF RECORD

Defendant Joseph C. Loomis, by counsel, for the reasons stated in the accompanying
Memorandum, respectfully moves this Court for reconsideration of an order entered on or about
September 3, 2010, disqualifying Emil W. Herich and Keats McFarland & Wilson, LLP from
appearing as counsel on behalf of Defendant Joseph C. Loomis.

While Defendant has noted a hearing on this motion for Friday, September 17, 2010, he
does not object to the Court ruling on the papers

LR 7(E) Certification

The undersigned counsel certifies that he contacted opposing counsel in an attempt to
confer on the issues of this Motion.

Dated: Septembcr lO, 2010.

Respectfully submitted,

/s/

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CERTIFICATE OF SERVICE

I hereby certify that on this 10th day of September, 2010, l have filed a true and correct copy
of the foregoing With the Clerk of Court via the CM/ECF etiling system Which Will send notification

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